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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

POTOMAC RIVERKEEPER INC. d/b/a *
POTOMAC RIVERKEEPER NETWORK,

Plaintiff,
* Civil Action No. 1:20-cv-778
Vv.

VERSO LUKE LLC, et ai.,

Defendants.

* * * * * * * * * * * * *
PROPOSED] ORDER tt
The Court has considered the Maryland Department of the Environment’s Motion
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for Leave to Intervene and Memorandum in Support,-and-enyresponsethereto, and finds if

that all required conditions have been met for intervention in action.

Accordingly, the Maryland Department of the Environment’s Motion for Leave to

Intervene is hereby GRANTED; and it is further;

ORDERED, that the Maryland Department of the Environment’s Complaint in

Provided,
TS MAY prove Foe

ntervention for Injunctiye Relief and Civil Penalties is bs ie ted as eel
owerckee, Prot by June [+ 2020,
rescind “ths Order as "Mr vide nt by Granrect.

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Date Ellen Lipton Hollander
United States District Judge

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